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 NOT FOR PUBLICATION

                           UNITED STATES DISTRICT COURT
                              DISTRICT OF NEW JERSEY

  HARVEY D. WOLINETZ, PARK
  CAPITAL FUNDING, LLC, PARK
  NATIONAL MORTGAGE SERVICING,
  H.D.W. 2005, LLC, H&N ASSOCIATES,               Civ. No. 08-5046
  ARETZ ASSOCIATES, H.D.W. 2005
  FOREST, LLC, H.D.W. NEW CASTLE,                 OPINION
  LLC, and H.D.W. 2005 EDGEWATER,
  LLC,

          Plaintiffs, Counter Defendants.

          v.

  ELIYAHU WEINSTEIN, RIVKA
  BICHLER, SIMCHA SHAIN, ELANA
  SHAIN, MICHAEL GINDI, NEW CEDAR
  HOLDINGS, LLC, OCEAN REALTY
  101, LLC, PINE PROJECTS, LLC, NH-K
  MEMPHIS, LLC, ARTHUR FEIN, and
  ARTHUR FEIN ENTERPRISES,

         Defendants, Counter Claimants.
  ELIYAHU WEINSTEIN, RIVKA
  BICHLER, NEW CEDAR HOLDINGS,
  LLC, OCEAN REALTY 101, LLC, PINE
  PROJECTS, LLC, and NH-K MEMPHIS,
  LLC,

                    Cross Claimants,

          v.

  MICHAEL GINDI,

                    Cross Defendant.




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     ELIYAHU WEINSTEIN, RIVKA
     BICHLER, NEW CEDAR HOLDINGS,
     LLC, OCEAN REALTY 101, LLC, PINE
     PROJECTS, LLC, and NH-K MEMPHIS,
     LLC,

                       Third-Party Plaintiffs,

             v.

     ARTHUR FEIN, ARTHUR FEIN
     ENTERPRISES, and H.D.W. 2005, LLC,

     Third-Party Defendants.

 THOMPSON, U.S.D.J.

                                         INTRODUCTION

           This matter comes before the Court upon the Motion for Default Judgment filed by

 Plaintiffs Harvey D. Wolinetz; Park Capital Funding, LLC; 1 H.D.W. 2005, LLC; H&N

 Associates; Aretz Associates; H.D.W. 2005 Forest, LLC; H.D.W. 2005 New Castle, LLC; and

 H.D.W. 2005 Edgewater, LLC (collectively, “Plaintiffs”) against Defendants Rivka Bichler;

 Simcha Shain; Elana Shain; Michael Gindi; New Cedar Holdings, LLC (“New Cedar”); Ocean

 Realty 101, LLC (“Ocean Realty”); Pine Projects, LLC (“Pine Projects”); and NH-K Memphis,

 LLC (“NH-K”) (collectively, “Defaulted Defendants”). (ECF No. 246.) The Motion is

 unopposed. The Court has decided this Motion on the written submissions of the parties,

 pursuant to Local Rule 78.1(b). For the reasons stated herein, the Motion is denied.

                                          BACKGROUND

           Plaintiffs allege that Defendant Eliyahu Weinstein—who is not party to the present

 Motion for Default Judgment—perpetrated fraud against Plaintiffs in a number of real estate



 1
  As stated in the Court’s summary judgment Opinion, Plaintiff Park National Mortgage
 Servicing is the same entity as Plaintiff Park Capital Funding, LLC. (Op. at 2 n.1, ECF No. 247.)

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 deals. (See generally Am. Compl. ¶¶ 43–122, ECF No. 53.) While the details differ from

 transaction to transaction, the same general pattern emerges from the Amended Complaint:

 Defendant Weinstein would approach various Plaintiffs asking them to invest or lend money for

 a real estate venture, various Plaintiffs would contribute money, Defendant Weinstein would not

 use the money as promised, and the contributing Plaintiffs would not get their money back. (See,

 e.g., id. ¶¶ 43–51.)

         Defaulting Defendants are alleged to have been associated with Defendant Weinstein’s

 schemes in various ways. Defendants Bichler, Simcha Shain, and Gindi allegedly participated in

 what Plaintiffs call “the Enterprise.” (Id. ¶ 28.) According to Plaintiffs, the Enterprise “was

 formed for the purposes of engaging in criminal and fraudulent activities designed to convert,

 misappropriate, and steal substantial sums of money from its many victims,” constituting a

 “pattern of racketeering activity” as defined in the Racketeer Influenced and Corrupt

 Organizations Act (“RICO”) 18 U.S.C. § 1961(1). (Am. Compl. ¶¶ 30, 32.) Plaintiffs also aver

 that the Enterprise “engaged in . . . wire fraud, mail fraud, bank fraud, and mortgage fraud” (id. ¶

 31) and “perpetrate[d] an essentially identical scheme to defraud over and over again” (id. ¶ 33).

 The Amended Complaint also alleges in broad terms that Defendants Simcha Shain and Gindi

 conspired and took overt acts to further the conspiracy. (Id. ¶¶ 126, 133, 184, 186, 136, 185,

 187.)

         Defendant Simcha Shain is alleged to co-own Defendant New Cedar, Defendant Pine

 Projects, Defendant NH-K, and the Kimball Cabana and New Horizon apartment complexes. (Id.

 ¶¶ 18, 20, 21, 103.) Additionally, Defendant Simcha Shain, along with Defendant Weinstein,

 allegedly used funds that Plaintiff Wolinetz had provided to purchase a shopping center in New

 Castle, Pennsylvania, to instead purchase other properties. (Id. ¶¶ 59, 61.)

         Defendant Gindi allegedly co-owns Defendant NH-K and the Kimball Cabana and New

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 Horizon apartment complexes. (Id. ¶¶ 21, 103.) He allegedly transferred all of his shares in

 Berkeley Acquisitions to Plaintiff H.D.W. 2005, LLC. (Id. ¶ 90.) With regards to a property on

 Forest Avenue in Staten Island, Defendant Weinstein promised Plaintiff Wolinetz that a lease

 would be signed with a corporation “allegedly owned by [Defendant] Gindi.” The Amended

 Complaint alleges that Defendant Gindi failed to make payments on a loan made for his benefit.

 (Id. ¶ 117.) It also alleges generally that Defendant Gindi made fraudulent misrepresentations

 and false statements. (Id. ¶¶ 145, 185.)

        Plaintiffs allege that Defendants Bichler, Simcha Shain, and Elana Shain obtained a

 second mortgage on a property in which Plaintiff H&N Associates had invested. (Id. ¶ 79.)

        Plaintiff Park Capital Funding, LLC and Defendant Weinstein agreed that Defendant

 New Cedar would receive funds lent by Plaintiff Park Capital Funding, LLC. (Id. ¶ 70.) It also

 purchased properties constituting New Cedar Plaza (id. ¶¶ 71, 73, 74) and obtained loans related

 to one of those properties (id. ¶ 74). The Amended Complaint avers generally that it “made

 fraudulent misrepresentations and/or omissions of material fact.” (Id. ¶ 145.)

        Defendant Ocean Realty allegedly executed a mortgage that was not repaid (id. ¶¶ 64,

 66), obtained a new mortgage on the same property (id. ¶ 66), and may have obtained other

 property (id. ¶ 69).

        Defendant Pine Projects is alleged to be a “corporate shell[]” (id. ¶ 29) through which

 Defendant Wolinetz and the Enterprise engaged a scheme to obtain money from various

 Plaintiffs (id ¶ 43). According to the Amended Complaint, various Plaintiffs lent or invested

 money with Defendant Pine Projects. (Id. ¶¶ 52, 59, 64, 107.) Defendant Weinstein also

 allegedly sent bad checks that were to be drawn on Defendant Pine Projects’ account. (Id. ¶¶

 111–12.) Defendant Pine Projects is also alleged to have “made fraudulent misrepresentations

 and/or omissions of material fact.” (Id. ¶ 145.)

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        The Amended Complaint describes the ownership of Defendant NH-K (id. ¶¶ 21, 145)

 and alleges that it made fraudulent misrepresentations (id. ¶ 145).

        Plaintiffs filed suit in this case on October 10, 2008 (ECF No. 1) and filed the Amended

 Complaint on May 20, 2009 (ECF No. 53). The Amended Complaint alleges the following

 Counts against all Defendants: (1) civil RICO, 18 U.S.C. § 1962(c); (2) conspiracy to violate

 RICO, 18 U.S.C. § 1962(d); (3) equitable accounting; (6) conversion; (7) constructive trust; (8)

 unjust enrichment; (9) breach of contract; (10) promissory estoppel; (11) civil conspiracy; and

 (12) injunctive relief. (Id. ¶¶ 123–43, 157–93.) It also alleges (4) fraud against Defendants

 Weinstein, Gindi, Pine Projects, and NH-K. (Id. ¶¶ 144–49.) 2

        This case was stayed from November 2010 until October 2016 while criminal

 proceedings against Defendant Weinstein were pending. (ECF Nos. 123–24, 160.) On July 2,

 2018, at Plaintiffs’ request, the Clerk entered default against Defendants Simcha Shain, Elana

 Shain, Gindi, New Cedar, Ocean Realty, Pine Projects, and NH-K. (ECF entries dated

 07/02/2018.) The Clerk similarly entered default against Defendant Bichler on October 11, 2018.

 (ECF entry dated 10/11/2018.) On December 12, 2018, Plaintiffs filed the present Motion for

 Default Judgment. (ECF No. 246.) Defaulting Defendants have neither responded to the Motion

 nor requested that default be vacated. The Motion is presently before the Court.

                                       LEGAL STANDARD

        After an entry of default by the Clerk, a district court may enter default judgment under

 Rule 55(b)(2) of the Federal Rules of Civil Procedure against “a properly served defendant who

 fails to plead or otherwise defend an action.” See Sourcecorp Inc. v. Croney, 412 F. App’x 455,

 458 (3d Cir. 2011) (citing Fed. R. Civ. P. 55(a)). “Default judgment is permissible only if


 2
  The Amended Complaint also alleges (5) breach of fiduciary duty against Defendant Weinstein
 only. (Id. ¶¶ 150–56.)

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 plaintiff’s factual allegations establish a right to the requested relief.” Eastern Constr. & Elec.,

 Inc. v. Universe Techs., Inc., 2011 WL 53185, at *3 (D.N.J. Jan. 6, 2011). The court must accept

 a plaintiff’s well-pled factual allegations, except for those relating to the amount of damages.

 Comdyne I, Inc. v. Corbin, 908 F.2d 1142, 1149 (3d Cir. 1990).

        A party who has made a proper showing under Rule 55 is not entitled to default judgment

 as of right; the entry of default is within the district court’s discretion. Hritz v. Woma Corp., 732

 F.2d 1178, 1180 (3d Cir. 1984) (citing Tozer v. Charles A. Krause Milling Co., 189 F.2d 242,

 244 (3d Cir. 1951)). Default judgment is a sanction of last resort; cases are more appropriately

 decided on their merits where practicable. See Hill v. Williamsport Police Dep’t, 69 F. App’x 49,

 51 (3d Cir. 2003); Hritz, 732 F.2d at 1181. Even if default judgment is permissible, the court

 must assess three factors to determine whether default judgment is appropriate: “(1) prejudice to

 the plaintiff if default is denied, (2) whether the defendant appears to have a litigable defense,

 and (3) whether the defendant’s delay is due to culpable conduct.” Chamberlain v. Giampapa,

 210 F.3d 154, 164 (3d Cir. 2000).

                                            DISCUSSION

        Plaintiffs ask the Court to hold Defaulting Defendants “jointly and severally liable for the

 total amount of damages” (Proposed Order, ECF No. 246-4), which Plaintiffs claim totals

 $90,915,343.50 (Wolinetz Decl. ¶ 6). Plaintiffs do not specify the amount lost on each

 transaction or otherwise explain how this total was calculated. Plaintiffs also do not explain how

 the total damages should be divided among them.

        Accepting all of the Amended Complaint’s factual allegations as true, the Court cannot

 establish that Plaintiffs have a right to the monetary relief they request. The $90,915,343.50

 sought by Plaintiffs is derived from the total amount they allegedly lost in all transactions

 described in the Amended Complaint. But not all Defaulting Defendants were involved in all of

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 these transactions. (See, e.g., Am. Compl. ¶¶ 94–96, 110 (describing schemes where no

 Defaulting Defendant was involved).)

         Moreover, Plaintiffs have not shown that the facts alleged establish liability in each of the

 cases where a Defaulting Defendant was involved. For example, the Amended Complaint states

 that Defendant New Cedar received funds, purchased property, and obtained loans with respect

 to the New Cedar Plaza property (id. ¶¶ 70–71, 73–74), but these facts alone do not establish that

 Defendant New Cedar is liable to Plaintiffs. Moreover, other Defaulting Defendants—namely

 Defendants Bichler, Elana Shain, and NH-K—are scarcely mentioned in the Amended

 Complaint at all.

         Even if Plaintiffs establish that some Defaulting Defendants are liable for some damages,

 the facts pleaded do not establish that all Defaulting Defendants should be jointly and severally

 liable for those damages. Joint and several liability is not available if “there are either distinct

 harms or a reasonable basis upon which to determine the contribution of each cause to a single

 harm.” Dafler v. Raymark Indus., Inc., 611 A.2d 136, 145 (N.J. 1992) (citing Restatement

 (Second) of Torts § 433A (Am. Law Inst. 1965).) In the facts presented, each transaction where

 Plaintiffs lost money constitutes a distinct harm and incurs only to those defendants involved in

 that transaction. For this reason, Defaulting Defendants cannot be held liable as a group for a

 series of transactions where not all of them were involved in each transaction. 3

         Finally, Plaintiffs have not shown how the damages sought should be divided among

 themselves. Just as not every Defaulting Defendant was involved in each transaction, not every


 3
   Plaintiffs cannot derive joint and several liability from allegations that “the Enterprise” acted as
 a single conspiracy committing multiple iterations of fraud. (See Am. Compl. ¶¶ 28–34.) The
 Amended Complaint does not accuse all Defaulting Defendants of taking part in the Enterprise.
 (Id. ¶ 28.) Even if it did, the section describing the activities of the Enterprise consist almost
 entirely of legal conclusions that are to be ignored. Eastern Constr., 2011 WL 53185, at *3
 (citing, inter alia, Comdyne, 908 F.2d at 1149).

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 Plaintiff was harmed in each transaction. Without more information about which damages are

 owed to which Plaintiffs from which Defaulting Defendants, a right to the relief requested cannot

 be established.

                                         CONCLUSION

        For the foregoing reasons, the Motion for Default Judgment is denied. An appropriate

 order will follow.

 Date: 1/8/2019                                      /s/ Anne E. Thompson
                                                     ANNE E. THOMPSON, U.S.D.J.




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